    Case 2:19-cv-08972-CBM-FFM Document 23 Filed 12/17/19 Page 1 of 1 Page ID #:365

                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


Case No.          CV 19-8972-CBM(FFMx)                                               Date    DECEMBER 17, 2019


Title     SETH SHAPIRO v. AT & T MOBILITY, LLC.,


Present: The Honorable             CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                                NOT REPORTED
                          Deputy Clerk                                             Court Reporter


                Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                            None Present                                           None Present


Proceedings:          IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES

        Counsel are hereby notified that pursuant to the Judge's directive, the Joint Stipulation to set [22]
        plaintiff's time to file an opposition to defendant's motion and set defendant's time to reply to plaintiff's
        opposition is GRANTED.

        IT IS SO ORDERED.
        cc: all parties




        CV-90                                       CIVIL MINUTES - GENERAL              Initials of Deputy Clerk ys
